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14

15                                    UNITED STATES DISTRICT COURT

16                                 NORTHERN DISTRICT OF CALIFORNIA

17                                         SAN FRANCISCO DIVISION
18

19   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-5944 (SC)
     LITIGATION
20                                                              MDL No. 1917

21   This Document Relates To:                                  [PROPOSED] ORDER GRANTING
                                                                SHARP’S ADMINISTRATIVE
22   Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   MOTION TO FILE DOCUMENTS
     Case No. 13-cv-1173 SC;                                    RELATED TO SHARP’S
23                                                              OPPOSITION TO DEFENDANTS’
     Sharp Electronics Corp., et al. v. Koninklijke Philips     MOTION FOR PARTIAL
24   Elecs., N.V., et al., Case No. 13-cv-2776 SC.              SUMMARY JUDGMENT ON
                                                                STATUTE OF LIMITATIONS
25                                                              GROUNDS UNDER SEAL
                                                                PURSUANT TO CIVIL LOCAL
26                                                              RULES 7-11, 79-5(b), AND 79-5(e)

27
28

                     [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER
           SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E): (CASE NO. 07-5944-SC; MDL NO. 1917)
            Case 4:07-cv-05944-JST Document 3284-2 Filed 12/23/14 Page 2 of 2




 1                 Upon consideration of Sharp’s Administrative Motion to File Documents Related to

 2   Sharp’s Opposition to Defendants’ Motion for Partial Summary Judgment on Statute of Limitations

 3   Grounds (“Sharp’s Opposition to Defendants’ Motion for Partial Summary Judgment”) Under Seal

 4   Pursuant to Civil Local Rules 7-11 and 79-5, submitted in connection with Sharp’s Opposition to

 5   Defendants’ Motion for Partial Summary Judgment, it is hereby:

 6                 ORDERED that the Administrative Motion is GRANTED; and it is further

 7                 ORDERED that the Clerk shall file and maintain under seal the portions of Sharp’s

 8   Unredacted Opposition to Defendants’ Motion for Partial Summary Judgment and Exhibits C-R and

 9   Exhibit T attached to the Declaration of Gary R. Carney in Support of Sharp’s Opposition to

10 Defendants’ Motion for Partial Summary Judgment as described below.

11
                           DOCUMENT                            PAGE:LINE REF. OR EXHIBIT NOS.
12
            Sharp’s Opposition to Defendants’              3:26 – 5:16
13          Motion for Partial Summary Judgment            13:24-28
                                                           14:7-13
14
            Declaration of Gary R. Carney in Support       Exhibits C-R and T
15          of Sharp’s Opposition to Defendants’
            Motion for Partial Summary Judgment
16
     IT IS SO ORDERED.
17

18
             DATED:                         ,                _________________________________
19
                                                                    HON. SAMUEL CONTI
20                                                             UNITED STATES DISTRICT JUDGE
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                    [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER
           SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E): CASE NO. 07-5944-SC; MDL NO. 1917)
